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    •   Benjamin Baruh

    •   Jürg Bavaud

    •   Mohammad Hans Dastmaltchi

    •   Brett Harrison

    •   Robin Matzke

    •   Ryne Miller

    •   Max Rhotert

    •   Stephen Stephens

    •   John Samuel Trabucco

    •   Ernest Ukaj

    •   Brandon Williams




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)



FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                   Plaintiffs,

                        -against-                              Adv. Pro. No. 23-50437 (JTD)
LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,

                                   Defendants.


     THE DEBTORS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
            DEFENDANTS ROBIN MATZKE AND LOREM IPSUM UG

                 Pursuant to Federal Rules of Civil Procedure 26 and 34, made applicable by

Federal Rules of Bankruptcy Procedure 7026, 7034, and 9014 (the “Bankruptcy Rules”) and the

Local Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules” and together with the Bankruptcy Rules, the “Rules”), the Debtors (as defined below)

submit this request for the production of documents (the “Requests”) to Defendants Robin

Matzke and Lorem Ipsum UG in connection with the above-captioned Adversary Proceeding.



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX [cases.ra.kroll.com]. The principal place of business of Debtor Emergent
    Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and
    Barbuda.




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The Debtors request that the documents and electronic information responsive to the Requests

identified in the attached Exhibit A be produced to Stephen Ehrenberg, Sullivan & Cromwell

LLP, 125 Broad Street, New York, New York 10004, counsel for the Debtors, no later than

November 13, 2023.

               Please take further notice that the Debtors reserve their rights under title 11 of the

United States Code (the “Bankruptcy Code”), the Rules, and any applicable law regarding the

subject matter of these Requests to amend, supplement, and/or modify Exhibit A attached

hereto, or serve additional discovery requests.




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Dated: October 13, 2023           LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                  /s/ Matthew B. McGuire
                                  Adam G. Landis (No. 3407)
                                  Matthew B. McGuire (No. 4366)
                                  Kimberly A. Brown (No. 5138)
                                  Matthew R. Pierce (No. 5946)
                                  919 Market Street, Suite 1800
                                  Wilmington, Delaware 19801
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                                          mcguire@lrclaw.com
                                          brown@lrclaw.com
                                          pierce@lrclaw.com

                                  -and-

                                  SULLIVAN & CROMWELL LLP
                                  Steven L. Holley (admitted pro hac vice)
                                  Stephen Ehrenberg (admitted pro hac vice)
                                  Brian D. Glueckstein (admitted pro hac vice)
                                  Christopher J. Dunne (admitted pro hac vice)
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                                  New York, NY 10004
                                  Telephone: (212) 558-4000
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                                          holleys@sullcrom.com
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                                          dunnec@sullcrom.com


                                  Counsel for the Debtors
                                  and Debtors-in-Possession




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                                          EXHIBIT A

                                         DEFINITIONS

For purposes of the Document Requests, the following terms shall apply:

       1.      The term “Acquisition of Digital Assets AG” refers to the purchase by Alameda

Research Ltd. and FTX Trading Ltd. of the shares of Digital Assets AG, now known as FTX

Europe AG, and its affiliates and subsidiaries, via three Share Purchase Agreements executed in

October 2020, July 2021, and November 2021.

       2.      The term “Affiliate” has the meaning ascribed to such term in section 101(2) of the

Bankruptcy Code.

       3.      The terms “and” and “or” in Definitions and Requests shall be construed

conjunctively or disjunctively as necessary to bring within the scope of the Requests all Documents

or information that might otherwise be construed as outside their scope.

       4.      The term “any” means “each and every,” “any and all,” and “any one.”

       5.      The term “ASC 805 Accounting Analysis” shall refer to the report issued by BDO

USA LLP dated April 7, 2022, entitled “ASC 805 Valuation of Certain Assets of FTX Trading

Ltd. for Financial Reporting Purposes,” and all versions thereof, as well as to all services

performed under the Statement of Work executed by FTX Trading Ltd. and BDO USA LLP dated

February 22, 2022, concerning the purchase accounting analysis of Digital Assets AG.

       6.      The term “Auditing and Accounting Companies” means Prager Metis CPAs,

LLC, Robert Lee & Associates LLP, Rivers & Moorehead PLLC, and Silicon Valley Accountants,

which were involved in the preparation of the FTX Trading Ltd. Audited Financial Statement, as

defined below, or of materials relied upon in preparing the FTX Trading Ltd. Audited Financial

Statement.




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        7.        The term “communication,” or any variant thereof, means any contact between

two or more persons by which any information or knowledge is transmitted or conveyed, or

attempted to be transmitted or conveyed, and shall include, without limitation, written contact by

means such as letters, memoranda, telecopies, text messages, instant messages, Slack messages,

Signal messages, Telegram messages, emails, social media, or any other document, and oral

contact, such as face-to-face meetings, videoconference or telephone conversations, or social

media. The term “Communication” is not limited to internal Communications but includes

Communications between the Debtors and third parties and Communications between or among

third parties.

        8.        The term “concerning” is to be understood in its broadest sense and means

concerning, constituting, identifying, evidencing, summarizing, commenting upon, referring to,

relating to, arising out of, describing, digesting, reporting, listing, analyzing, studying, discussing,

stating, setting forth, reflecting, interpreting, concerning, recording, including, negating,

manifesting, containing, or comprising the subject matter identified.

        9.        The term “Debtors” means, collectively, FTX Trading Ltd., Maclaurin Investments

Ltd., and their affiliated entities, as debtors-in-possession, as applicable, which filed voluntary

chapter 11 petitions under the Bankruptcy Code commencing these chapter 11 cases.

        10.       The term “Digital Assets AG” means Digital Assets AG, later known as FTX

Europe AG, as well as any Affiliates, agents, assigns, directors, employees, officers, parents,

partners, representatives, subsidiaries, or any other Persons acting or purporting to act on their

behalf, and any predecessor or successor of the foregoing.

        11.       The term “document” has the meaning prescribed by Rule 7034 of the Bankruptcy

Rules, including, without limitation, any tangible thing upon which any expression,




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Communication or representation has been recorded by any means including, but not limited to,

handwriting, printing, photographing, videotaping, magnetic impulse, computer disks, computer

storage drives, computer tapes, or mechanical, electronic or digital recording or information

storage of any kind, and any nonidentical copies (whether different from the original because of

notes made on such copies, because of indications that said copies were sent to different individuals

than were the originals, or because of any other reason), including but not limited to working

papers, preliminary, intermediate or final drafts, correspondence, memoranda, electronic mail,

charts notes, records of any sort of meetings, financial calculations, diaries, reports of telephone

or other oral conversations, desk calendars, appointment books, and all other writings and

recordings of every kind that are in your actual or constructive possession, custody, or control.

       12.     The term “FTX Entities” means collectively all affiliates of the Debtors that have

not filed voluntary Chapter 11 petitions in the United States under the Bankruptcy Code.

       13.     The term “FTX Group” means collectively the Debtors and the FTX Entities.

       14.     The term “FTX Trading Ltd. Audited Financial Statement” refers to the audited

financial statement dated April 2, 2022, entitled “FTX Trading Ltd. Consolidated Financial

Statements as of December 31, 2021 and 2020 and for the years ended December 31, 2021 and

2020,” and all versions thereof, prepared or facilitated by the Auditing and Accounting Companies.

       15.     The term “identify,” or any variant thereof, means: (i) in relation to a natural

person, to establish a person’s identity such that the identity of the person will be ascertainable

distinctly from all other like persons, and to provide the person’s current or last known employer,

current or last known mailing address, and current or last known telephone number; or (ii) in

relation to a document or item, to establish the document or item’s identity such that the identity

of the document or item will be ascertainable distinctly from all other like documents or items, and




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to state the name and address of the custodian of the document or item, the location of the

document or item, and a general description of the document or item.

        16.     The term “including” means “including, but not limited to” and “including, without

limitation.” It shall not be construed to limit the scope of any definition or Request herein.

        17.     The term “Irrevocable Fee Agreement” means the agreement titled “Irrevocable

Fee Agreement” dated June 5, 2021, between Mohammad Hans Dastmaltchi and Digital Assets

AG.

        18.     The term “Kephas” means collectively Kephas Stiftung gemeinnützige GmbH,

Kephas TV Corporation, Kephas Corporation, any of their predecessors, successors, or affiliates,

and all representatives, agents, advisors, and all other Persons or entities acting or purporting to

act on behalf of any of those entities.

        19.     The term “Person” includes both the singular and the plural, and means any natural

Person, business entity, corporation, cooperative, bureau, public corporation, partnership, joint

venture, firm, trust, estate, group, club, association, institute, society, office, organization, and any

governmental entity or department, agency, bureau, or political subdivision thereof, or any other

organization or entity.

        20.     The terms “relating to,” “related to” or “concerning,” or any variant thereof,

means, without limitation, referring to, concerning, pertaining to, discussing, mentioning,

containing, reflecting, constituting, describing, displaying, showing, identifying, proving,

disproving, consisting of, arising out of, supporting or contradicting.

        21.     The term “Wallet” refers to any device, program or network address that holds any

cryptocurrency or cryptocurrency key.

        22.     The term “You” or “Your” shall refer to Lorem Ipsum UG and Robin Matzke.




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                                        INSTRUCTIONS

          1.    Unless otherwise specified, the responsive period for each Request is from January

1, 2020, through the present (the “Relevant Period”).

          2.    All discovery in connection with these Requests shall be subject to and conducted

in accordance with the terms of the Stipulation and Protective Order [D.I. 832] in these chapter 11

cases or the terms of any other protective order issued in this case.

          3.    You are instructed to respond separately to each Request and to produce all

Documents responsive to the Requests that are within Your possession, custody, or control, or in

the possession, custody, or control of any other Person or entity acting or purporting to act on Your

behalf.

          4.    If You cannot fully respond to the following one or more of the Requests after

exercising due diligence to secure the information requested thereby, so state, and specify (a) the

portion of each Request that cannot be responded to fully and completely, (b) what efforts were

made to obtain the requested information, (c) the facts relied upon that support Your contention

that the Request(s) cannot be answered fully and completely, and (d) any knowledge, information

or belief You have concerning the unanswered portion of any such Request(s).

          5.    If there are no Documents responsive to any particular Request, Your response shall

state so in writing.

          6.    Unless instructed otherwise, each Request shall be construed independently and not

by reference to any other Request for the purpose of limitation or exclusion.

          7.    You must answer each Request separately and fully, unless it is objected to, in

which event the objection(s) should be specifically stated.




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       8.      If any information requested in a Request is claimed to be privileged or otherwise

immune from discovery, or if any Document is withheld from production based on a claim of

privilege, immunity, or other ground, furnish a list specifying: (a) the nature of the privilege,

immunity, or other ground claimed; (b) the authors of the Document; (c) all persons who received

copies of the Document, including the Document’s indicated and blind copy recipients; (d) the

date of the Document; (e) the type of Document withheld (e.g., memorandum, letter, report, email);

and (f) the general subject matter of the Document sufficient to enable the Debtors to assess the

applicability of the claimed privilege, immunity, or other ground for refusal to produce the

Document.     For each item of information or Document You withhold based on a claim of

privilege, immunity, or other ground, identify such information or Document with sufficient

particularity for purposes of a motion to compel.

       9.      If a portion of an otherwise responsive Document contains information subject to a

claim of privilege, only that portion of the Document subject to the claim of privilege shall be

deleted or redacted from the Document following the instructions in the preceding paragraph and

the rest shall be produced.

       10.     You shall produce Documents in the following manner and form:

               E-mails.       E-mails shall be produced as single-page TIFF images with

accompanying full text and load file (.DAT). E-mail attachments shall be handled according to

the provisions below applicable to loose electronic Documents and shall not be separated from the

e-mails to which they are attached. Native files for e-mails shall be maintained, and such files

shall be produced upon request.

               Electronic Documents. Word and other electronic Documents shall be produced as

single-page TIFF images with accompanying full text and load file (.DAT). The processed native




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for all spreadsheets, except for those requiring redactions, shall be produced as native. Audio,

video, and other files that cannot be converted to image shall also be produced as native. Native

files shall be linked to the database by the metadata field “NativeLink.” Native files for all other

electronic Documents shall be maintained, and such files shall be produced upon request.

               Hard-Copy Documents. Hard-copy Documents shall be produced as single-page

TIFF images with accompanying full OCR text and load file (.DAT). All hard copy documents

should be unitized to the smallest physical boundary.

               TIFF Images Generally. Documents should be produced as single-page, in black

and white, group IV TIFFs imaged at 300 dpi. The document’s original orientation should be

maintained (i.e., portrait-to-portrait and landscape-to-landscape). Bates numbers, confidentiality

designations (in accordance with the terms of the Protective Order), and redactions (to the extent

they are necessary) should be burned into the image. TIFF image files should be provided in an

“Images” folder. All speaker notes, comments, track changes, and hidden text should be expanded,

extracted, and rendered in the TIFF file.

               TIFF Images for Electronic Messaging Applications and Services. Documents

collected from electronic messaging applications and services, including but not limited to Signal,

Telegram, SMS, WhatsApp, Facebook Messenger, and iMessage, should be produced as TIFF

images as specified in the foregoing, but should be produced in color. Slack messages and e-mails,

however, should be produced in black and white.

               Extracted Text Files. The full text of native files should be extracted directly from

the native file (not OCR) and should be delivered in an appropriately formatted text file (.txt) that

is named to match the first Bates number of the document. Text files should be provided in a

“Text” folder. To the extent that a document is redacted, the document should undergo OCR after




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the text has been redacted in order to remove the redacted text.

               Data Load Files. Database load files should consist of: (1) a comma-delimited

value (“.DAT”) file containing the metadata fields identified in the following paragraph; and (2) an

Opticon (“.OPT”) file to facilitate the loading of TIFF images. The first line of the .DAT file shall

be the header with field names, and each subsequent line shall contain the fielded data for each

Document. All load files should be named to match the production volume name. Bates numbers

and production volume names must not be duplicated and should run consecutively throughout the

entirety of the production(s).

               The following metadata should be supplied, where available:

                                                                            Files and
                                                                                             Hard
 Field                           Description                       E-mail   E-mail
                                                                                             Copy
                                                                            Attachments
 Bates Number Begin              Beginning page                    x        x                x
                                 Bates number
 Bates Number End                Ending page Bates number          x        x                x
 Attachment Begin                Beginning page of                 x        x                x
                                 attachment range
 Attachment End                  Ending page of attachment         x        x                x
                                 range
 Custodian                       Names of custodian who            x        x                x
                                 possessed the document.
                                 For documents from
                                 centralized repositories where
                                 custodian name(s) are
                                 unavailable, identifying source
                                 information should be
                                 provided.
 All Custodians                  Names of all individuals or       x        x                x
                                 repositories who possessed the
                                 document.
 File Name                       File name of document                      x
 File Extension                  File extension of document                 x



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                                                                     Files and
                                                                                   Hard
Field                    Description                        E-mail   E-mail
                                                                                   Copy
                                                                     Attachments
E-mail Outlook Type      Type of Outlook item, e.g. e-      x
                         mail, calendar item, note, task
Page Count               For documents produced in      x            x             x
                         TIFF form, number of pages in
                         the document. For documents
                         produced in native, page count
                         will be 1 (for placeholder).
E-mail Subject           Subject of e-mail                  x        x
Author                   Document author                             x
From                     E-mail author                      x        x
To                       E-mail recipients                  x        x
CC                       E-mail copyees                     x        x
BCC                      E-mail blind copyees               x        x
Date Sent                Date sent (mm/dd/yyyy              x        x
                         hh:mm:ss format)
Time Sent                Time sent                          x        x
                         (mm/dd/yyyy hh:mm:ss
                         format)
Date Received            Date received (mm/dd/yyyy          x        x
                         hh:mm:ss format)
Time Received            Time received (mm/dd/yyyy          x        x
                         hh:mm:ss format)
Date Created             Date created                                x
DateLastModified         Last modification date                      x
                         (mm/dd/yyyy
                         hh:mm:ss format)
Hash Value (MD5 or       Unique electronic signature of     x        x
SHA-1)                   e-mail
                         or electronic file
Production Volume        Production volume name             x        x             x
Confidentiality          Confidentiality designation        x        x             x
                         pursuant to the Protective
                         Order
Redacted                 Descriptor for documents that      x        x             x
                         have been redacted (<yes> or


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                                                                             Files and
                                                                                              Hard
 Field                         Description                         E-mail    E-mail
                                                                                              Copy
                                                                             Attachments
                               <no>)
 NativeLink                    Logical path to native file                   x                x
 Text Path                     Logical path to text file           x         x                x

         11.    You shall produce all Documents in the manner in which they are maintained in the

usual course of Your business.

         12.    A Request shall be deemed to include a request for the entire Document requested,

including any and all file folders within which the Document was contained, transmittal sheets or

memoranda, cover letters, exhibits, enclosures, comments or attachments to the Document in

addition to the Document itself. In the case of e-mail attachments, if either the e-mail or any of its

attachments is responsive, produce the e-mail and all of the corresponding attachments.

         13.    All Documents shall be produced in such fashion as to identify the custodian or

department in whose possession the Document was found and the business address of each

Document’s custodian(s).

         14.    The fact that a Document is produced by another party does not relieve You of the

obligation to produce Your copy of the same Document, even if the two Documents are identical.

         15.    If You claim any ambiguity in interpreting either a Request or a definition or

instruction, You should not use that claim as a basis for refusing to respond, but shall set forth as

part of Your response the language deemed to be ambiguous.

         16.    Each Request shall be deemed to be continuing in nature. If at any time additional

Documents or information come into Your possession, custody or control or are brought to Your

attention, prompt supplementation of Your response to these Requests is required.




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                                  DOCUMENT REQUESTS

       1.     All Documents concerning the Acquisition of Digital Assets AG, including but not

limited to all Documents concerning the purpose of the acquisition, Documents reflecting

negotiations concerning the acquisition, due diligence materials prepared or provided in

connection with the acquisition, the drafting of share purchase agreements or any adjacent or

ancillary agreements, and communications concerning what entities, assets, or intellectual

property would or would not be transferred in connection with the acquisition.

       2.     All Documents concerning the acquisition by Digital Assets AG, You, Patrick

Gruhn, or Brandon Williams of a contract for difference broker that was licensed to service

customers in the European Economic Area, including but not limited to Documents concerning

the acquisition of K-DNA Financial Services Ltd., negotiations over or due diligence performed

in connection with the acquisition of K-DNA Financial Services Ltd., and the drafting of

agreements executed in connection with the acquisition of K-DNA Financial Services Ltd.

       3.     All Documents concerning Your purchase of shares of K-DNA Financial Services

Ltd., including but not limited to Documents concerning the financing of Your purchase of shares

in K-DNA Financial Services Ltd., the negotiation and execution of the Share Purchase Agreement

governing Your purchase of shares of K-DNA Financial Services Ltd., and you’re your assignment

of rights to purchase shares of K-DNA Financial Services Ltd. to Digital Assets AG.

       4.     All Documents concerning K-DNA Financial Services Ltd.’s application for or

receipt of regulatory approvals to solicit and provide financial products to customers in the

European Economic Area.

       5.     All Documents concerning the business model of Digital Assets AG, including but

not limited to Documents concerning Digital Asset AG’s business strategy, model, or plan either




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